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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



WAVE NEUROSCIENCE, INC. a Delaware                    Case No. 5:23-CV-00626-XR
Corporation,
                                                      Honorable: Xavier Rodriguez
               Plaintiff,
                                                      SECOND AMENDED COMPLAINT FOR:
       vs.

BRAIN FREQUENCY LLC, a Texas Limited                  1. INFRINGEMENT OF UNITED
Liability Company                                        STATES PATENT NO. 8,926,490
                                                      2. INFRINGEMENT OF UNITED
               Defendant.                                STATES PATENT NO. 10,029,111
                                                      3. INFRINGEMENT OF UNITED
                                                         STATES PATENT NO. 8,465,408
                                                      4. INFRINGEMENT OF UNITED
                                                         STATES PATENT NO. 8,870,737


                                                      DEMAND FOR JURY TRIAL


                             SECOND AMENDED COMPLAINT

       Plaintiff Wave Neuroscience, Inc. (“Wave” or “Plaintiff”) complains and alleges as follows

against defendant Brain Frequency, LLC (“Brain Frequency” or “Defendant”):

                                     NATURE OF ACTION

       1.      This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. § 1, et seq. Wave seeks damages, attorney’s fees, costs, pre and post-judgment

interest, and permanent injunctive relief.

                                         THE PARTIES

       2.      Wave Neuroscience is a Delaware corporation with a principal place of business at

1601 Dove Street, Suite 205, Newport Beach, California 92660.




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       3.      Brain Frequency is a Texas limited liability company with a principal place of

business at 26229 North Cranes Mill Road, New Braunfels, TX 78133.

                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §§

1331 and 1338(a).

       5.      This Court has personal jurisdiction over Brain Frequency because: (a) Brain

Frequency’s principal place of business is in this District; (b) Brain Frequency transacts business

in and maintains continuous and systematic contacts with this District and the State of Texas; and

(c) Brain Frequency has committed acts of patent infringement and/or contributed to or induced

acts of patent infringement by others in this District and elsewhere in Texas and the United States.

       6.      Venue is proper in the United States District Court for the Western District of Texas

under 28 U.S.C. §§ 1391(b), 1391(c), and 1400(b). Defendant resides in, has committed acts of

patent infringement in, and has regular and established places of business in this District.

       7.      Certain products manufactured by or for Brain Frequency and/or infringing services

have been and/or are currently being offered for sale by Brain Frequency operating out of its

principal place of business in this District. Those products and services are being offered within

this District and other locations within Texas and throughout the United States.

        FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

                                 Wave Neuroscience’s Business

       8.      Wave is a recognized global-leader in developing personalized, non-invasive

technology aimed at addressing neurological disorders and enhancing cognitive brain function

through Transcranial Magnetic Stimulation (“TMS”).



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        9.     Wave’s technological advancements in the areas of testing and treatment of

neurological disorders and in enhancing cognitive brain function using TMS are evidenced by its

extensive patent and trademark portfolio and its collection of proprietary historical data of patient

electroencephalogram (“EEG”) results and associated medical conditions.

        10.    Wave’s patented technology involves analyzing patients’ EEG results to derive

insight into the patients’ brain health. Wave combines its proprietary algorithms with years of

proprietary historical data to create an actionable cognitive treatment report. Doctors and clinics

use Wave’s patented equipment and treatment protocols to treat patients to achieve long-lasting

cognitive health.

        11.    NeoSync, Inc. (“NeoSync”) was founded in 2008 as a clinical stage company.

NeoSync helped pioneer personalized TMS for the treatment of major depressive disorder and

other diseases of the central nervous system. Medical professionals acknowledged the

synchronized transcranial magnetic stimulation using EEG was a “new neuromodulation

technique,” and confirmed the findings using NeoSync’s EEG Synchronized TMS (“N.E.S.T.”)

device. 1

        12.    On February 13, 2020, Wave acquired certain assets from NeoSync, including, but

not limited to two of the patents at issue in this case, which enhanced Wave’s patent and trademark

portfolio, along with its collection of proprietary historical data of patient EEG results and

associated medical conditions.

        13.    Kosivana Holdings Limited (“Kosivana”) was founded in 2015 as a location in

Cyprus for Wave Neuroscience, which was then doing business as Newport Brain Research



1
 Cook I.A., Wilson A.C., Corlier J., Leuchter A.F. 2019. Brain Activity and Clinical Outcomes in
Adults With Depression Treated With Synchronized Transcranial Magnetic Stimulation: An
Exploratory Study. Neuromodulation 2019; 22: 894–897, attached as Exhibit 6.
                                                 3

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Laboratory, Inc (“Newport Brain Research Laboratory”). Kosivana helped develop technologies

relating to rTMS devices and the treatment of pain, mental disorders, and spinal disorders.

       14.     On June 12, 2019, Wave acquired certain assets from Kosivana, including, but not

limited to, one of the patents at issue in this case, which enhanced Wave’s patent and trademark

portfolio related to its proprietary TMS and rTMS products.

       15.     Wave is currently conducting an FDA-grade clinical study, Phase I of which was

funded by the U.S. Department of Defense to validate the safety and medical efficacy of its

proprietary technology for the treatment of persistent post-concussion symptoms and persistent

post-concussive syndrome from traumatic brain injury in collaboration with U.S. Special

Operations Command. Phase II will proceed with funding from the Texas A&M Institute for

Bioscience and Technology.

       16.     Wave’s patented technology is being used by or in connection with its numerous

strategic partners including, but not limited to, the U.S. Department of Defense, Department of

Veterans Affairs, Special Operations Care – Fund (SOC-F), Tomahawk Charitable Solutions,

Texas A&M Institute for Bioscience and Technology, Ohio State University – Physical Medicine

and Rehabilitation, Kerlan-Jobe Orthopedic Sports Medicine, Cedar-Sinai, University of Southern

California Center for Neurorestoration, Enterhealth Ranch - Substance Abuse Treatment Center,

and Warriors Heart – Addiction, Chemical Dependency & PTSD Treatment Center for Active

Military, Veterans, and First Responders.

       17.     Wave’s products, services, and successful treatments have been featured on over

50 podcasts including The Broken Brain, Finding Center, The Joe Rogan Experience, Bulletproof

Veteran, Military Veteran Dad, Vets First, and many more.




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         18.    With the assistance of Veteran Service Organizations and various non-profit

organizations, Wave has underwritten more than $1 million in care for Veterans in need.

                                     The Asserted Patents
         19.    Mental disorders generate serious problems for those who suffer from them, their

families, and society. Historically, physicians have treated these disorders with a variety of

medications, many of which have significant negative side effects. Repetitive Transcranial

Magnetic Stimulation (rTMS) is a non-pharmaceutical procedure utilizing an electromagnet placed

on the scalp that generates a series of magnetic field pulses roughly the strength of an MRI scan.

         20.    Patients receiving treatment for persistent post-concussion symptoms due to

Traumatic Brain Injury 2 and depression symptoms (PHQ9) using Wave’s proprietary technology

have demonstrated promising results with robust academic rigor sufficient to warrant prestigious

grant and research funding in excess of $15 million.

         21.    Wave has developed or acquired numerous patents that implement its rTMS

treatments. These patents cover specific methods of treatment for specific patients using a specific

administration of frequencies at specific conditions to achieve a specific outcome.

         22.    On January 6, 2015, the U.S. Patent and Trademark Office issued United States

Patent No. 8,926,490, entitled “SYSTEMS AND METHODS FOR DEPRESSION TREATMENT

USING NEURO-EEG SYNCHRONIZATION THERAPY” (the “’490 Patent”). A true and

correct copy of the ’490 Patent is attached as Exhibit 1.

         23.    The ’490 Patent describes systems for a novel, inexpensive, and easy to use therapy

for treatment of depression using alternating magnetic fields to gently “tune” the brain and affect

symptoms of depression.



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    Based on the Rivermead Post-Concussion Questionnaire 16 (“RPQ16”).
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         24.    On July 24, 2018, the U.S. Patent and Trademark Office issued United States Patent

No. 10,029,111, entitled “RTMS AT HARMONICS OF BIOLOGICAL SIGNALS” (the “’111

Patent”). A true and correct copy of the ’111 Patent is attached as Exhibit 2.

         25.    The ’111 Patent describes methods of administration of rTMS at a pulse rate equal

to, or a harmonic of, a patient’s given biological metric, such as heart rate or respiratory rate, to

establish frequency coupling among different organs through rhythmic entrainment using the

harmonic closest to the desired EEG frequency based on the targeted cognitive element or

symptom.

         26.    On June 18, 2013, the U.S. Patent and Trademark Office issued United States Patent

No. 8,465,408, entitled “SYSTEMS AND METHODS FOR MODULATING THE

ELECTRICAL ACTIVITY OF A BRAIN USING NEURO-EEG SYNCHRONIZATION

THERAPY” (the “’408 Patent”). A true and correct copy of the ’408 Patent is attached as Exhibit

3.

         27.    The ’408 Patent describes methods, devices, and systems for a novel, inexpensive,

easy to use therapy for treatment of coma, post-traumatic stress disorder, Parkinson’s disease,

cognitive performance, and/or amblyopia that gently “tune” the brain and affect symptoms thereof.

         28.    On October 28, 2014, the U.S. Patent and Trademark Office issued United States

Patent    No.   8,870,737,   entitled   “SYSTEMS       AND     METHODS        FOR     NEURO-EEG

SYNCHRONIZATION THERAPY” (the “’737 Patent). A true and correct copy of the ’737 Patent

is attached at Exhibit 4.

         29.    The ’737 Patent describes methods, devices, and systems for a novel, inexpensive,

easy to use therapy for a number of disorders. The methods and devices described use alternating

magnetic fields to gently “tune” the brain and affect mood, focus, and cognition of subjects.


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       30.     The ’490 Patent, ’111 Patent, ’408 Patent, and ’737 Patent are referred to

collectively as the “Asserted Patents.”

       31.     Wave’s products and services are acknowledged as being breakthrough treatments,

new and novel for improving brain health and clinical results for treatment of many disorders. The

tremendous success of Wave’s treatments, including its patented devices and methods, confirms

that the inventions claimed in the Asserted Patents were not well-understood, routine, or

conventional at the time of the Asserted Patent’s filings. To the contrary, the claimed devices,

systems, and methods have solved technical problems to provide unique solutions for patient brain

health and treating specific conditions. Some exemplary publications illustrating Wave’s

commercial success and unique solutions to brain health include:

               Business Wire 3

               Infinite Hero Foundation 4

               Football Morning In America 5

               Autism Parenting 6

               Defense One 7

               Local10 8


3
        https://www.businesswire.com/news/home/20190904005867/en/Special-Operations-Care-
Fund-SOC-F-and-Tomahawk-Charitable-Solutions-to-Support-Leader-in-Neurotherapeutics-to-
Provide-Breakthrough-Treatment-Technology-for-Special-Operations-Veterans attached as
Exhibit 7.
4
    https://www.prnewswire.com/news-releases/infinite-hero-foundation-announces-2014-grants-
281743191.html attached as Exhibit 8.
5
         http://profootballtalk.nbcsports.com/2019/06/10/fmia-guest-nick-hardwick-post-nfl-brain-
health/ attached as Exhibit 9.
6
  https://www.autismparentingmagazine.com/autism-mert-therapy/ attached as Exhibit 10.
7
  https://www.defenseone.com/technology/2019/01/zap-how-electric -therapy-curing-navy-seals-
ptsd-and-could-remake-brain-science/154301/ attached as Exhibit 11.
8
    https://www.local10.com/health/2020/01/30/brain-treatment-center-offers-novel-approach-to-
treat-autism/ attached as Exhibit 12.
                                                  7

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        32.     The success of Wave’s patented technology is also reflected in the fact that Wave

not only has more than thirty licensed clinics performing treatments daily in California, Florida,

Colorado, Maryland, Nevada, New York, Oklahoma, Texas, and Virginia, but also operates clinics

internationally in Panama and Australia.

                                  INFRINGING CONDUCT

        33.     The tremendous popularity and commercial success of Wave’s patented technology

has spawned imitators, including Brain Frequency, which has and continues to copy Wave’s

products and services. Defendant is actively—directly and indirectly—infringing the Asserted

Patents.

        34.     According to Defendant’s website, Brain Frequency founder and member Shannon

Malish, a licensed social worker, developed Brain Frequency’s infringing treatment methods and

oversees their use. 9

        35.     Brain Frequency actively promotes the commercial development of Brain

Frequency’s technology and methods. 10 The equipment used in Brain Frequency’s treatments is

regulated by the FDA according to Brain Frequency’s website. 11

        36.     “The Brain Frequency™ system” induces neuromodulation after performing an

EEG to measure electrical patterns in the brain. The Brain Frequency system then uses “gentle,

short, magnetic pulses” to treat symptoms like depression and anxiety. This description, among

many other examples on Defendant’s public website and YouTube channel, 12 confirms

Defendant’s products and services directly infringe the Asserted Patents.



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  See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix your brain once and for
all?” (in which Ms. Malish explains the development of and treatment of patients using Brain
Frequency’s techniques) (available at https://gladdenlongevitypodcast.com/episodes, and
https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-your-brain-once-and-for-all
and https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34fadb30054a80)
10
   See id. (Gladden Longevity Podcast)
11
   https://brainfrequency.ai/treatment-process
12
   https://www.youtube.com/@BrainFrequencyai;
                                                8

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          37.    Brain Frequency’s treatment procedure is used at numerous “Brain Frequency™

Locations,” including Gladden Longevity in Texas, Live In Alignment in California, BioMed

Scottsdale in Arizona, and Energy4Life Centers in Utah. 13
       38.     On information and belief, Brain Frequency does not perform medical activities or

administer patient treatments. Instead, Brain Frequency was formed to develop technology and to

commercialize that technology by licensing it to third-party medical providers to treat their own

patients. As a result, Brain Frequency is not a “related health care entity” as that term is defined in

35 U.S.C. § 287(c).

          39.    The ’490 Patent describes, among other things, a system of treating depression

using a magnetic field generator with a non-transitory computer readable medium containing a

particular data value and a processor configured to control the magnetic field based on that data

value according to specified parameters to increase or decrease blood flow in particular regions of

the brain. Exhibit 1 (’490 Patent) Claim 1.

          40.    Disclosures made on Defendant’s website shows the infringement of each element

of Claims 1, 8, and 9 of the ’490 Patent, which is presented in Exhibit 5.

          41.    The ’111 Patent describes, among other things, a method of improving a

physiological or neuropsychiatric condition by subjecting a patient to rTMS at a frequency, or a

harmonic or sub-harmonic, of a non-EEG biological metric. Exhibit 2 (’111 Patent) Claim 1.

          42.    Disclosures made on Defendant’s website showing infringement of each element

of Claims 1-7 of the ’111 Patent, which are presented in Exhibit 5.

          43.    The ’408 Patent describes, among other things, a method of treating Parkinson’s

disease, treating coma, treating post traumatic stress disorder, treating amblyopia, and/or

enhancing cognitive performance in a subject by moving an intrinsic frequency of a brain of the


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     https://brainfrequency.ai/texas
                                                    9

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subject within a specified EEG band toward a pre-selected intrinsic frequency within the same

specified EEG band, by applying a magnetic field close to a head of the subject, wherein the

magnetic field comprises the intrinsic frequency of the brain of the subject within the specified

EEG band. Exhibit 3 (’408 Patent) Claim 2.

       44.     Disclosures made on Defendant’s website shows the infringement of each element

of Claims 1-4, 9-12, and 20-21 of the ’408 Patent, which are presented in Exhibit 5.

       45.     The 8,870,737 Patent describes, among other things, a method comprising:

adjusting output of a magnetic field, applying said magnetic field close to a head of a subject, and

moving, using the magnetic field, an intrinsic frequency of a specified EEG band of the subject

toward a pre-selected intrinsic frequency of the specified EEG band, wherein the preselected

intrinsic frequency is a frequency that decreases blood flow in a lower region of the brain of the

subject. Exhibit 4 (’737 Patent), Claim 2.

       46.     Disclosures made on Defendant’s website shows the infringement of each element

of Claims 1-4, and 8-11 of the ’737 Patent, which are presented in Exhibit 5.

       47.     Defendant has had actual knowledge of the existence of the ’490 and ’111 Patents

since at least as early as the receipt of the letter dated May 15, 2023, that accompanied the original

Complaint filed in this action.

                                             COUNT I

             INFRINGEMENT OF UNITED STATES PATENT NO. 8,926,490
       48.    Wave incorporates the allegations of paragraphs 1-47 as if set forth here.

       49.     On January 6, 2015, the U.S. Patent and Trademark Office duly and legally issued

the ’490 Patent.




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        50.     At all relevant times, Wave or its predecessor-in-interest, NeoSync, has been the

lawful owner of right, title, and interest in and to the ’490 Patent, including the right to sue for and

collect past damages.

        51.     The ’490 Patent is valid and enforceable.

        52.     As demonstrated by the claim chart attached as Exhibit 5, Defendant has been and

is directly infringing pursuant 35 U.S.C. § 271, literally or under the doctrine of equivalents, one

or more claims of the ’490 Patent, including Claims 1, 8, and 9 of the ’490 Patent by making,

using, manufacturing, importing, offering for sale, and/or selling systems that incorporate the

system claimed in the ’490 Patent.

        53.     As demonstrated by the claim chart attached as Exhibit 5, Defendant has also been

inducing, and continues to induce its customers pursuant to 35 U.S.C. § 271 to directly infringe

one or more claims of the ’490 Patent, including Claims 1, 8, and 9 of the ’490 Patent, by

intentionally promoting, aiding, and instructing customers to purchase and use systems that

incorporate the system claimed in the ’490 Patent.

        54.     Defendant knew or should have known the purchase and use of systems that

incorporate the systems claimed in the ’490 Patent by its customers directly infringes one or more

claims of the ’490 Patent, including Claim 1 of the ’490 Patent.              Direct infringement by

Defendant’s customers is evidenced by statements on its customers’ websites, for example, as

shown in the claim charts attached to this Second Amended Complaint.

                                             COUNT II

              INFRINGEMENT OF UNITED STATES PATENT NO. 10,029,111

        55.     Wave incorporates the allegations of paragraphs 1-47 as if set forth here.




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        56.     On July 24, 2018, the U.S. Patent and Trademark Office duly and legally issued

the ’111 Patent.

        57.     At all relevant times, Wave, its predecessor-in-interest, Kosivana, or its predecessor

in interest, Newport Brain Research Laboratory, has been the lawful owner of right, title, and

interest in and to the ’111 Patent, including the right to sue for and collect past damages.

        58.     The ’111 Patent is valid and enforceable.

        59.     As demonstrated by the claim chart attached as Exhibit 5, Defendant has also been

inducing, and continues to induce, its customers pursuant to 35 U.S.C. § 271 to directly infringe

one or more claims of the ’111 Patent, including Claims 1-7 of the ’111 Patent, by intentionally

promoting, aiding, and instructing customers to purchase and use systems and devices in a manner

that incorporates the method claimed in the ’111 Patent.

        60.     Defendant knew or should have known that the use of the systems and devices in a

manner that incorporates the method claimed in the ’111 Patent by its customers directly infringes

one or more claims of the ’111 Patent, including Claims 1-7 of the ’111 Patent.                  Direct

infringement by Defendant’s customers is evidenced by statements on its customers’ websites, for

example, as shown in the claim charts attached to this Second Amended Complaint.

                                             COUNT III

              INFRINGEMENT OF UNITED STATES PATENT NO. 8,465,408

        61.     Wave incorporates the allegations of paragraphs 1-47 as if set forth here.

        62.     On June 18, 2013, the U.S. Patent and Trademark Office duly and legally issued

the ’408 Patent.

        63.     At all relevant times, Wave or its predecessor-in-interest, NeoSync, has been the

lawful owner of right, title, and interest in and to the ’408 Patent, including the right to sue for and

collect past damages.

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        64.     The ’408 Patent is valid and enforceable.

        65.     As demonstrated by the claim chart attached as Exhibit 5, Defendant has been and

is directly infringing pursuant 35 U.S.C. § 271, literally or under the doctrine of equivalents, one

or more claims of the ’408 Patent, including Claims 12, 20, and 21 of the ’408 Patent by making,

using, manufacturing, importing, offering for sale, and/or selling systems that incorporate the

device claimed in the ’408 Patent.

        66.     As demonstrated by the claim chart attached as Exhibit 5, Defendant has also been

inducing, and continues to induce, its customers pursuant to 35 U.S.C. § 271 to directly infringe

one or more claims of the ’408 Patent, including Claims 1-4, 9-12, and 20-21 of the ’408 Patent,

by intentionally promoting, aiding, and instructing customers to purchase and use systems and

devices in a manner that incorporates the method claimed in Claims 1-4 and 9-11 of the ’408 Patent

and the device claimed in Claims 12, 20, and 21 of the ’408 Patent.

        67.     Defendant knew or should have known that the use of the systems and devices in a

manner that incorporates the method or the device claimed in the ’408 Patent by its customers

directly infringes one or more claims of the ’408 Patent, including Claims 1-4, 9-12, and 20-21 of

the ’408 Patent. Direct infringement by Defendant’s customers is evidenced by statements on its

customers’ websites, for example, as shown in the claim charts attached to this Second Amended

Complaint.

                                             COUNT IV

              INFRINGEMENT OF UNITED STATES PATENT NO. 8,870,737
        68.    Wave incorporates the allegations of paragraphs 1-47 as if set forth here.

        69.     On October 28, 2014, the U.S. Patent and Trademark Office duly and legally issued

the ’737 Patent.

        70.     At all relevant times, Wave, or its predecessor-in-interest, NeoSync, has been the

lawful owner of right, title, and interest in and to the ’737 Patent, including the right to sue for and

collect past damages.


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       71.     The ’737 Patent is valid and enforceable.

       72.     As demonstrated by the claim chart attached as Exhibit 5, Defendant has and

continues to induce its customers to directly infringe one or more claims of the ’737 Patent,

including Claims 1-4 and 8-11 of the ’737 Patent by intentionally promoting, aiding, and

instructing customers to purchase and use systems and devices in a manner that incorporates the

method claimed in the ’737 Patent.

       73.     Defendant knew or should have known the use of the devices and systems in a

manner that incorporates the method claimed in the ’737 Patent by its customers directly infringes

one or more claims of the ’737 Patent, including Claims 1-4 and 8-11 of the ’737 Patent. Direct

infringement by Defendant’s customers is evidenced by statements on its customers’ websites, for

example, as shown in the claim charts attached to this Second Amended Complaint.

                                     PRAYER FOR RELIEF

       WHEREFORE, Wave prays for relief against Defendant as follows:

       1.      A judgment that Defendant has directly infringed and is directly infringing the ’490

Patent and the ’408 Patent;

       2.      A judgment that Defendant has induced infringement of each of the Asserted
Patents, and is actively inducing infringement of each of the Asserted Patents;

       3.      An award of damages adequate to compensate Plaintiff for the infringement that

has occurred under 35 U.S.C. § 284, including with pre-judgment and post-judgment interest;

       4.      An award of treble damages for Defendant’s willful infringement of the Asserted

Patents pursuant to 35 U.S.C. § 284;

       5.      An accounting and/or supplemental damages for all damages occurring after any

discovery cutoff and through the Court’s decision regarding imposition of a compulsory ongoing

royalty;



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       6.      An order under 35 U.S.C. § 283 permanently enjoining Defendant from continuing

to make, use, sell, and/or offer to sell the infringing products and services and from further

inducing or contributing to the infringement of the Asserted Patents;

       7.      An award of attorneys’ fees, expenses, and costs based on this being an exceptional

case under 35 U.S.C. § 285, including prejudgment interest on such fees, expenses and costs;

       8.      Costs and expenses in this action;

       9.      Such other further relief as the Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury as to all issues triable by jury.



Dated: October 13, 2023                       Respectfully submitted,

                                                /s/ Harry L. Gillam, Jr.
                                              Harry L. Gillam, Jr.
                                              Texas Bar No. 07921800
                                              J. Travis Underwood
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                                              Attorneys for Plaintiff
                                              WAVE NEUROSCIENCE, INC.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a) on October 13, 2023.


                                                      /s/ Harry L. Gillam, Jr.
                                                     Harry L. Gillam, Jr.




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